                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:11CR22

UNITED STATES OF AMERICA                  )
                                          )
      V.                                  )                       ORDER
                                          )
MICHAEL JAMES TAYLOR                      )
                                          )
_________________________________________ )

       Pending before the Court is Defendant’s Sealed Motion [# 180]. Upon a review of

the motion, the Court DIRECTS the parties to appear for an evidentiary hearing at 9:30 a.m.

on February 6, 2012, at the United States District Court for the Western District of North

Carolina, Bryson City Division, 50 Main St., Bryson City, North Carolina. The Court will

hold an evidentiary hearing as to the issues raised in the Defendant’s Sealed Motion. Both

sides should come prepared to offer evidence. The government should file its written

response to the Motion on or before January 27, 2012. Finally, the Court notes that it might

be necessary for the Court or the opposing side to call one or more of the attorneys of record

in this case as a witness. Accordingly, counsel for the Government and Defendant should

prepare for the hearing as if each will be called as a witness.



                                              Signed: January 13, 2012




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